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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

HOUSTON L. HAMILTON
#37847                                                             PLAINTIFF

V.                      NO. 3:21-cv-00184-BRW-ERE

SUSAN COX and
DOE                                                            DEFENDANTS

                                    ORDER

      Pending before the Court is Plaintiff Houston L. Hamilton’s motion for a

status update. The motion (Doc. 6) is GRANTED.

      On September 7, 2021, the Court issued a summons for Defendant Susan Cox.

Doc. 5. That summons has not yet been returned either executed or unexecuted.

      IT IS SO ORDERED this 4th day of October, 2021.




                                     ____________________________________
                                     UNITED STATES MAGISTRATE JUDGE
